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IN THE UNITED sTATEs DISTRICT coURT _
FoR THE wEsTERN DISTRICT oF TENNESSEE O;")."Y 20 iii 9: 52
wEsTERN DIVISION

 

 

JEFFREY HOUK, MICHAEL GROENE,
DAVID GROENE, AND MICHAEL
SIMMONS,

Plaintiffs,

)
)
)
)
)
v. ) No. 03-2487 Ma/P
)
THOMAS & BETTS CORPORATION, )

)

)

Defendant.

 

ORDER DENYING PLAINTIFFS' MOTION TO ALTER JUDGMENT AND AMENDING
PREVIOUS ORDER GRANTING SUMMARY JUDGMENT

 

On November 16, 2004, this court issued an order granting
summary judgment to Defendant Thomas & Betts Corporation. (“Order”)
Before the court is the motion of Plaintiffs Jeffrey Houk, Michael
Groene, David Groene, and Michael Simmons (“Plaintiffs”), filed
November 26, 2004, to reconsider that judgment under Federal Rule
of Civil Procedure 59(e). Thomas & Betts filed a response on
December 15, 2004, to which Plaintiffs replied on March 18, 2005.
For the following reasons, the motion is DENIED, and the Order is
AMENDED to clarify the court’s interpretation of the contract in
dispute.

Plaintiffs move for reconsideration under Federal Rule of
Civil Procedure 59(e), Which provides that “[a]ny motion to alter
or amend a judgment shall be filed no later than 10 days after

entry of the judgment.” “When a party files a motion to reconsider

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a final order or judgment within ten days of entry, [the court}
will generally consider the motion to be brought pursuant to Rule
59(e).” Inge v. Rock Financial Corp., 281 F.Bd 613, 617 (6th Cir.
2002); see also Smith v. Hudson, 600 F.2d 60, 62 (Gth Cir.
1979)(holding that “a n@tion which asks a court to vacate and
reconsider, or even to reverse its prior holding, may properly be
treated under Rule 59(e) as a motion to alter or amend a judgment,”
even when the motion predates the formal entry of judgment).

A plaintiff should be afforded relief from a judgment under
Rule 59(e) under limited circumstances:

First, the movant may demonstrate that the motion is
necessary to correct manifest errors of law or fact upon
which the judgment is based. Second, the motion may be
granted so that the moving party' may' present newly
discovered.or previously unavailable evidence. Third, the
motion will be granted if necessary to prevent manifest
injustice m. Fourth, a Rule 59(e) motion may be justified
by an intervening change in controlling law.

The Rule 59{e) motion may not be used to relitigate old
matters, or to raise arguments, or present evidence that
could have been raised prior to the entry of judgment.
Also, amendment of the judgment will be denied if it
would serve no useful purpose.

11 Charles Alan Wright et al., Federal Practice and Procedure
§ 2810.1 (2d ed. 1995) (footnotes omitted); see GenCorp, Inc. v.
Am. Int'l Underwriters, 178 F.3d 804, 834 (Gth Cir. 1999) (noting
that Rule 59(e) motions may be granted if there is a clear error of
law, newly discovered evidence, an intervening change in
controlling law, or to prevent manifest injustice). The court

should use its “informed discretion” in deciding whether to grant

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or deny a Rule 59(e) motion. See Huff v. Metro. Life Ins. Co., 675
F.2d ll9, 122 (Sth Cir. 1982).

Plaintiffs attempt to raise arguments and present evidence
that were or could have been offered before summary judgment,
namely that the agreement implicitly required Thomas & Betts to
submit licensed products to be listed with Underwriter’s
Laboratories, Inc., and that the court’s interpretation of the
Agreement fails to give meaning to the “gross negligence” term.
Plaintiffs argue that the following language from the Order employs
“circuitous reasoning" and nullifies contract language:

For Thomas & Betts’s conduct to constitute gross

negligence under the terms of tort law or the Agreement,

the Agreement must be read to contain an implicit

requirement that Thomas & Betts submit the licensed

products for UL listing. Because Paragraph 10(b)(ii)

contains no such requirement, Plaintiffs may not assert

that the breach of that requirement is gross negligence

on the part of Thomas & Betts. '

Plaintiffs argue that “because there is no requirement to submit a
product, the Plaintiffs cannot allege that a failure to submit a
product can ever equal gross negligence.”

This contention ignores other relevant portions of the Order.
The foregoing language refers only to the specific conduct
Plaintiffs allege to be gross negligence on the part of Thomas &
Betts (i.e, indicating that it intended to submit a product for a
UL listing), not to any other conduct in which Thomas & Betts could

have engaged. Thus, there are circumstances under which Plaintiffs

could have alleged that a failure to submit a product for a UL

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listing resulted from gross negligence. In fact, the Order points
out in the same paragraph that “Plaintiffs do not argue that Thomas
& Betts's analysis of the engineering and design feasibility of the
licensed products, or its decision not to pursue UL listings,
amounted to [gross negligence].”1 (Order at 11.) Thus, Plaintiffs
have not shown that the Agreement was ambiguous or that the Order
was otherwise based on a clear error of law.

Plaintiffs now contend that the evidence demonstrates that
Thomas & Betts did not terminate the Agreement within three years,
as required by the Agreement. Plaintiffs are justified in this
argument by the court’s statement on Page 8 of its Order that
“[t]he terms of Paragraph 10(b)(ii) granted Thomas & Betts a right
to terminate the Agreement within three years if it chose not to
seek a listing with UL for the licensed products.” Unfortunately,
this sentence is, at best, an unclear statement of the court's
interpretation of the Agreement.2 The relevant provision reads:

T & B shall have the right to terminate this Agreement

immediately' upon. notice of termination. by' T & B to

Licensor in the event that ... T & B has not for any

reason whatsoever (except only for gross negligence on

the part of T & B) on or before the third anniversary of
the date of this Agreement obtained a listing from

 

1 Plaintiffs argue that the court, on Page 5 of the Order, adopts Thomas
& Betts's factual assertions about its reasons for deciding not to seek a UL
listing, contrary to the standards for summary judgment. The language in Page
5 indicates only what Thomas & Betts's proffered reasons were for terminating
the Agreement. The court did not purport, nor did it need, to accept Thomas &
Betts's assertions as true.

2 The timing of Thomas & Betts’s termination was not an issue raised in
the parties' briefs on the original motion to dismiss. As such, the statement
is not necessary to a decision.

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Underwriter's Laboratories, Inc. for both the Floor Boxes
and Outlet Boxes.

(Agreement j 10(b)(ii).) The three-year limitation in this
provision clearly applies to the time within which Thomas & Betts
was to have received a UL listing, not the time within which it
must terminate the Agreement. The sentence on Page 8 of the Order
should instead read: “The terms of Paragraph 10(b)(ii) granted
Thomas & Betts a right to terminate the Agreement if it had not
obtained a UL listing, by its own choice or otherwise, within three
years.” As evidenced by the contract language and the parties’
briefs on summary judgment, Thomas & Betts was not required to
terminate the Agreement within three years of its execution.

For the foregoing reasons, Plaintiffs' motion to alter or
amend the judgment is DENIED and the Order granting summary

judgment is AMENDED as described.

So ORDERED this lqjtday of May 2005.

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SAMUEL H. MAYS, JR.
UNITED STA'I`ES DIS'I'RICT JUDGE

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Honorable Samuel Mays
US DISTRICT COURT

